           2:25-cr-00015-cr       Document 53-1        Filed 05/08/25     Page 1 of 2




                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT

UNITED STATES OF AMERICA,                    )
                                             )
               v.                            )       Case No. 2:25-cr-00015-cr-1
                                             )
TERESA YOUNGBLUT,                            )
     Defendant.                              )

                                     PROPOSED ORDER

       On May 8, 2025, Defendant Teresa Youngblut moved to continue the filing date for

pretrial motions for at least ninety (90) days and to exclude that time under the Speedy Trial Act.

Pretrial motions are due May 8, 2025.

       Counsel notes that additional time is needed to receive and review forthcoming

discovery, review newly anticipated discovery with the defendant, conduct any necessary

investigation and conduct negotiations with the government. Counsel also notes that the

government has informed the defense that it is actively exploring additional charges.

       Additional time for counsel and the defendant to review the new discovery and,

potentially, any new charges, and review and discuss the case, conduct any necessary

investigation and conduct negotiations with the government, will inform defense counsel’s

strategic decision-making about the case, will inform counsel’s evaluation of potential pretrial

motions and will inform counsel’s negotiations with the government. The defense asserts that

these factors all support a continuance under 18 U.S.C. § 3161(h)(7)(A) and (h)(7)(B)(iv).

       The government, through Matthew Lasher, the Assistant United States Attorney on the

case, does not have an objection to this motion.

       The Court, having considered this application, finds that the failure to grant the requested

extension would unreasonably deny the defendant the reasonable time necessary for effective
           2:25-cr-00015-cr       Document 53-1        Filed 05/08/25      Page 2 of 2




preparation, taking into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(B)(iv).

       The Court further finds that the ends of justice served by taking this action outweigh the

best interests of the public and the defendant in a speedy trial. 18 U.S.C. § 3161(h)(7)(A).

Finally, the Court finds that the additional time granted will be, and is, excluded from

computation under the Speedy Trial Act. 18 U.S.C. § 3161(h)(7)(A).

       Accordingly, the Defendant’s Motion is GRANTED. Pretrial motions are to be filed by

_____________________, 2025.




Dated at Burlington, Vermont this _____ day of ____________, 2025.




                                      __________________________________
                                      Hon. Christina Reiss
                                      United States District Court Chief Judge
